856 F.2d 187Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Richard Steven MAULICK, Plaintiff-Appellant,v.COMMONWEALTH OF VIRGINIA, Margaret B. Baker, Clerk, c/oHanover County Circuit Court, Thomas D. Bagwell,Assistant Attorney General, c/o AttorneyGeneral, Defendants-Appellees.
    No. 88-7565.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 27, 1988.Decided Aug. 17, 1988.
    
      Richard Steven Maulick, appellant pro se.
      Robert Quentin Harris, Office of Attorney General of Virginia, Bruce Anthony Kimble, County Attorney's Office, for appellees.
      Before DONALD RUSSELL, JAMES DICKSON PHILLIPS, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from its order denying relief under 42 U.S.C. Sec. 1983 is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  Maulick v. Commonwealth of Virginia, C/A No. 87-260-N (E.D.Va. Feb. 12, 1988).
    
    
      2
      AFFIRMED.
    
    